











NUMBER 13-02-720-CV 

COURT OF APPEALS

THIRTEENTH DISTRICT OF TEXAS

CORPUS CHRISTI - EDINBURG

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KOLL REAL ESTATE GROUP, INC. ,  Appellant,



v.




LEE T. PHILLIPS, ET AL. , Appellees.

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On appeal from the 135th  District Court

of Victoria County, Texas.


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MEMORANDUM OPINION


Before Justices Hinojosa, Rodriguez, and Castillo

Opinion Per Curiam



 Appellant, KOLL REAL ESTATE GROUP, INC. , perfected an appeal from a judgment entered by the 135th District
Court of Victoria County, Texas, in cause number 01-12-57,432-B .  After the record and appellant's brief were filed and
after the cause was set for submission and oral argument, appellant filed a motion to dismiss the appeal.  Appellant requests
that this Court dismiss the appeal.

 The Court, having considered the documents on file and appellant's motion to dismiss the appeal, is of the opinion that the
motion should be granted.  Appellant's motion to dismiss is granted, and the appeal is hereby DISMISSED.

PER CURIAM



Opinion delivered and filed this

the 24th day of April, 2003 .


